Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 1 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 2 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 3 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 4 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 5 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 6 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 7 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 8 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 9 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 10 of 11
Case 3:19-bk-30822   Doc 42-4 Filed 06/26/19 Entered 06/26/19 16:51:25   Desc
                            Exhibit 4 Page 11 of 11
